CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?414234382662506-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                 1:22-cv-01722-TCB
                                        Sama Camp, LLC v. Sama Tea, LLC et al
                                           Honorable Timothy C. Batten, Sr.

                                Minute Sheet for proceedings held In Open Court on 10/11/2022.


              TIME COURT COMMENCED: 1:45 P.M.
              TIME COURT CONCLUDED: 2:49 P.M.                      COURT REPORTER: Lori Burgess
              TIME IN COURT: 1:04                                  DEPUTY CLERK: Uzma Wiggins
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                William Buhay representing Sama Tea, LLC
         PRESENT:                   Briana Burrows representing Sama Beverages, LLC
                                    Tayah Woodard representing Sama Camp, LLC
         PROCEEDING
                                    Motion Hearing(Motion Hearing Non-evidentiary);
         CATEGORY:
         MOTIONS RULED              [25]Motion to Dismiss for Failure to State a Claim DENIED
         ON:                        [35]Motion to Stay DENIED Denied as moot.

         MINUTE TEXT:               The Court heard from both parties regarding the pending motions. The
                                    Court ordered Plaintiff to file an answer to the counterclaim within 14
                                    days. Fact discovery has been extended through and including December
                                    31, 2022. The Court also ordered the parties to participate in mediation by
                                    11/10/2022. The Court ordered the parties to submit a proposed order
                                    regarding discovery extension, required mediation, and names of amended
                                    parties as discussed in hearing.
         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                             10/11/2022, 3:37 PM
